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Entered: April 7th, 2020
Signed: April 6th, 2020

SO ORDERED




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MARYLAND

         In Re:

         TONYA LAWSON                                                   Case No. 20-10421-DER
                                                                        Chapter 13

                                    Debtor

                                               ORDER CONFIRMING PLAN

                 The Plan under Chapter 13 of the Bankruptcy Code having been transmitted to creditor (s) and it
         having been determined, after hearing on notice, that the requirements for confirmation set forth in 11 U.
         S. C. §1325 have been satisfied and that the plan complies with the other applicable provisions of the
         Bankruptcy Code, it is hereby:

                     ORDERED, that the Chapter 13 Plan filed March 17, 2020, is hereby confirmed; and it is further

                 ORDERED, that the property of the estate shall not vest in the Debtor until the Debtor is granted
         a discharge or the case is dismissed or otherwise terminated; and it is further

                   ORDERED, that the Debtor is directed to pay to the Trustee the sum of $1,000.00 per month
         for sixty (60) months on or before the 12th day of each month for a total period of sixty (60) months; and
         it is further

                  ORDERED, that the Debtor is directed to provide to the Trustee a copy of each Federal income
         tax return, and any amendment, at the same time it is filed with the taxing authority while the case is
         pending; and it is further

                   ORDERED, that the Debtor is directed to provide to the Trustee annually not later than 45 days
         before the anniversary date of this Order, a statement, under penalty of perjury, of (i) the income and
         expenditures of the debtor during the tax year most recently concluded before such anniversary date, and
         (ii) the monthly income of the Debtor that shows how income, expenditures, and monthly income are
         calculated; and which discloses (a) the amount and sources of the Debtor's income, (b) the identity of any
         person responsible with the Debtor for the support of any dependent, and (c) the identity of any person
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who contributed, and the amount contributed, to the household in which Debtor resides.

TRUSTEE RECOMMENDATION
The Chapter 13 Trustee represents
that the plan complies with the
provisions of the U.S.C. §1325 and
recommends confirmation.
                                                    /s/ REBECCA A. HERR
                                                    Chapter 13 Trustee
cc:

TONYA LAWSON
4705 SHAMROCK AVE.
BALTIMORE, MD 21206
Debtor

ALEXANDER SANCHEZ
SANCHEZ GARRISON & ASSOCIATES LLP
575 S CHARLEST ST SUITE 404
BALTIMORE, MD 21201
Attorney for Debtor

REBECCA A. HERR
185 ADMIRAL COCHRANE DR.
SUITE 240
ANNAPOLIS, MD 21401
Trustee

All Creditors and Parties of interest.

                                           END OF ORDER
